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                           Nos. 22-13992 & 22-13994

            In the United States Court of
            Appeals for the Eleventh Circuit
                         LEROY PERNELL, ET AL.,
                                      Plaintiffs–Appellees,
                                         v.

                           BRIAN LAMB, ET AL.,
                                       Defendants–Appellants.

                         ADRIANA NOVOA, ET AL.,
                                     Plaintiffs–Appellees,
                                         v.

                         MANNY DIAZ, JR., ET AL.,
                                       Defendants–Appellants.

              MOTION FOR STAY PENDING APPEAL

                         ON APPEAL FROM THE
                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
              NOS. 4:22-CV-304-MW-MAF & 4:22-CV-324-MW-MAF

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                           Adriana Novoa, et al. v. Manny Diaz, Jr., et al., 22-13994
               CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT
         Defendants-Appellants certify that the following is a complete list of

interested persons as required by Federal Rule of Appellate Procedure 26.1 and

Eleventh Circuit Rule 26.1:

   1.      Almond, Russell, Plaintiff-Appellee

   2.      American Civil Liberties Union of Florida, Attorney for Plaintiffs-

           Appellees

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   8.      Boaz, Timothy, Defendant-Appellant

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 17.   Diaz, Jr., Manny, Defendant-Appellant

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 19.   Dorsey, Dana Thompson, Plaintiff-Appellee

 20.   Dunn, Marvin, Plaintiff-Appellee

 21.   Edge, Aubrey, Defendant-Appellant

 22.   Edinger, Gary, Attorney for Plaintiffs-Appellees

 23.   Edwards, Jerry Crawford, Attorney for Plaintiffs-Appellees

 24.   Fajana, Morenike, Attorney for Plaintiffs-Appellees

 25.   First Amendment Forum at University of South Florida, Plaintiff-

       Appellee

 26.   Fitzpatrick, Magistrate Judge Martin A., U.S. District Court for the

       Northern District of Florida

 27.   Florida A&M University Board of Trustees, Defendant (Dismissed on

       Nov. 22, 2022)

 28.   Florida Board of Governors of the State University System, Defendant

       (Dismissed on Nov. 22, 2022)




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 29.   Florida International University Board of Trustees, Defendant (Dismissed

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 30.   Florida State University Board of Trustees, Defendant (Dismissed on

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 37.   Haddock, Edward, Defendant-Appellant

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 42.   Jordan, Darlene Luccio, Defendant-Appellant

 43.   Lamb, Brian, Defendant-Appellant

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 61.   Park, Shelley, Plaintiff-Appellee

 62.   Patel, Shilen, Defendant-Appellant

 63.   Pernell, Leroy, Plaintiff-Appellee


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 64.   Piccolo, Fredrick, Defendant-Appellant

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 66.   Rechek, Samuel, Plaintiff-Appellee

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 72.   Silagy, Eric, Defendant-Appellant

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 74.   Stermon, Kent, Defendant-Appellant

 75.   Sykes, Emerson James, Attorney for Plaintiffs-Appellees

 76.   Tilley, Daniel Boaz, Attorney for Plaintiffs-Appellees

 77.   Tobin, Charles David, Attorney for Plaintiffs-Appellees

 78.   University of Central Florida Board of Trustees, Defendant (Dismissed

       on Nov. 22, 2022)

 79.   University of Florida Board of Trustees, Defendant (Dismissed on Nov.

       22, 2022)

 80.   University of South Florida Board of Trustees, Defendant (Dismissed on

       Nov. 22, 2022)


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   81.     Walker, Judge Mark E., U.S. District Court for the Northern District of

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   83.     Weatherford, William, Defendant-Appellant

   84.     Wold, Megan M., Attorney for Defendants-Appellants

         Apart from undisclosed members of Appellees, no publicly traded company

or corporation has an interest in the outcome of this case or appeal.

Dated: December 5, 2022                    Respectfully submitted,

                                           /s/Charles J. Cooper
                                           Charles J. Cooper

                                           Counsel for Defendant-Appellants




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      APPELLANTS’ MOTION FOR STAY PENDING APPEAL AND
            INCORPORATED MEMORANDUM OF LAW

      Pursuant to Federal Rule of Appellate Procedure 8(a)(2)(A)(ii), Appellants—

members of the Florida Board of Governors of the State University System and the

University of South Florida Board of Trustees—respectfully move for this Court to

stay pending appeal the district court’s preliminary injunction, ordered on November

17, 2022.

                                 INTRODUCTION

      “Members of one race … are morally superior to members of another race.”

      The People of Florida believe that this proposition is invidiously

discriminatory and that it should not be advocated by teachers in Florida’s public

classrooms. Accordingly, the Florida Legislature prohibited public school teachers

and university educators from subjecting students to instruction that espouses or

otherwise endorses this proposition, along with seven other “concepts” of similar

ilk, such as “[m]embers of one race … cannot and should not attempt to treat others

without respect to race,” and “[a] person, by virtue of his or her race … is inherently

racist ….” FLA. STAT. § 1000.05(4)(a).

      Enacted in April 2022, the statute at issue in this case, the Individual Freedom

Act (“Act” and “IFA”), expresses the State’s view that classroom indoctrination of

students in the eight prohibited concepts violates the fundamental moral principle at

the heart of the Equal Protection Clause—that “the Government must treat citizens

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as individuals, not as simply components of a racial, religious, sexual or national

class,” Miller v. Johnson, 515 U.S. 900, 946 (1995), and that discriminating against

people solely because of such immutable characteristics is “odious to a free people

whose institutions are founded upon the doctrine of equality,” Loving v. Virginia,

388 U.S 1, 11 (1955). The Act, it should be noted, does not banish the enumerated

concepts from the classroom altogether; to the contrary, it expressly permits

classroom instruction that includes “discussion” of the listed concepts so long as the

“instruction is given in an objective manner without endorsement of the concepts.”

FLA. STAT. § 1004.05(4)(b). Nor does the Act prevent the State’s educators from

advocating the concepts, or any other views they may hold, outside the classroom or

other instructional settings. All the Act does is prohibit the State’s educators from

endorsing the enumerated concepts while teaching the State’s curriculum, in the

State’s classrooms, on the State’s time, in return for a State paycheck.

      The Plaintiffs in these cases—eight college professors, two students, and a

student organization—are not content with classroom discussion of the concepts,

objectively without endorsement. The Plaintiff Professors believe and embrace the

concepts and contend that they have a First Amendment right to inculcate their

students in the concepts in their courses. The Plaintiff Students argue that they have

a correlative First Amendment right to receive the professors’ personal opinions and

views endorsing the concepts.

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      The constitutional question in this case thus boils down to this: who decides

what is, and is not, to be taught in Florida’s college classrooms—individual

professors or their employer, the State, in prescribing by law the content

requirements and standards that govern public universities in setting their course

curricula? That question is not a hard one, for it was squarely resolved in favor of

the State by this Court in Bishop v. Aronov, 926 F.2d 1066 (11th Cir. 1991), which

held that the University of Alabama did not violate a physiology professor’s free

speech rights by “prevent[ing] him from presenting his religious viewpoint during

instructional time, even to the extent that it represents his professional opinion about

his subject matter.” Id. at 1077. The Court was not equivocal in stating the governing

rule: “In short, Dr. Bishop and the University disagree about a matter of content in

the courses he teaches. The University must have the final say in such a dispute.” Id.

at 1076.

      The district court below, however, read Bishop to mean precisely the opposite

of what it plainly says. After denouncing the Individual Freedom Act as Orwellian

“doublespeak,” and the State’s defense of it as “positively dystopian” and a

“Frankenstein’s monster,” the district court based its First Amendment analysis on

what it saw as the sharp distinction between “the State’s right to make content-based

choices in setting the public school curriculum” and the State’s “discretion in

limiting a professor’s ability to express certain viewpoints about the curriculum once

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it is set.” Ex.A.27 (emphasis in original)). A State’s authority “to determine the

content of its public school curriculum,” according to the district court, means that

“[a] professor cannot decide to teach something entirely different or do an end-run

around the prescribed curriculum by paying lip service to the subject they are

supposed to teach and then spend the rest of class time instructing on something

else.” Ex.A.26-27. But a professor is constitutionally entitled, the court below held,

to inculcate students in his or her personal viewpoints on matters that are within the

scope of the assigned course: “The State of Florida, as an employer and educator,

cannot restrict university employees from expressing a disfavored viewpoint about

a matter within the established curriculum while instructing on that curriculum. Such

viewpoint discrimination ‘is poison to a free society.’” Ex.A.107 (quoting Iancu v.

Brunetti, 139 S. Ct. 2294, 2302 (2019) ) (Alito, J., concurring)). What that means is

that once the State chooses to place a subject in the curriculum, it cannot say how

that subject is taught. A history professor teaching a course on World War II, for

example, would be free to espouse the view that the Holocaust was a hoax and to

lament the fact that the Nazis were defeated. Even worse hypotheticals can be

imagined. Thus, under the district court’s rule, the professors have the final say, and

so the court preliminarily enjoined enforcement of the Act.

      The district court’s First Amendment analysis is fatally flawed at multiple

levels.

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      First, and dispositively, the district court’s ruling is squarely at odds with

Bishop. The district court sought to distinguish Bishop on the ground that the

university had determined that Dr. Bishop’s classroom discussion of his personal

religious viewpoints “was not part of its curriculum with respect to the exercise

physiology course he taught.” Ex.A.92. True enough. But the university’s

determination that Dr. Bishop’s personal religious beliefs were outside the course

curriculum was based on the fact that they were his personal religious beliefs; it did

not matter that those “religious viewpoints . . . represent[ed] his professional opinion

about his subject matter.” 926 F.2d at 1077. The university did not seek to prohibit

all classroom discussion of matters touching generally on religion, such as the

extensively studied relationship between religion and both mental and physical

health. See, e.g., H.G. Koenig, Religion, Spirituality, and Health: The Research and

Clinical Implications, ISRN PSYCHIATRY, 2012, https://bit.ly/3F7WqyK. Rather, as

this Court emphasized, “[t]he University has simply said that he may not discuss his

religious beliefs or opinions under the guise of University courses.” 926 F.2d at 1076

(emphasis added). And that viewpoint-based restriction on his speech was “within

[the University's] powers to control the content of curriculum in the classroom.” Id.

at 1078. The Plaintiff Professors in this case stand on no different First Amendment

footing. In their dispute with the State about the content of their courses, including




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their advocacy of viewpoints contrary to the Individual Freedom Act, the State must

have the final say.

      Second, quite apart from its conflict with this Court’s binding decision in

Bishop, the decision below cannot be squared with the Supreme Court’s

“government speech” cases establishing that the speech of public employees, when

made “pursuant to their official duties,” is not protected by the First Amendment at

all. Garcetti v. Ceballos, 547 U.S. 410, 421 (2006). The leading government speech

case in the area of public education is Rosenberger v. Rector and Visitors of

University of Virginia, 515 U.S. 819 (1995), where the Supreme Court made clear

that “when the university determines the content of the education it provides, it is

the university speaking, and we have permitted the government to regulate the

content of what is or is not expressed when it is the speaker.” Id. at 833. This

language was read by then-Judge Alito to mean that “a public university professor

does not have a First Amendment right to decide what will be taught in the

classroom.” Edwards v. Calif. Univ. of Penn., 156 F.3d 488, 491 (3d Cir. 1998).

      Of like import are the government speech cases in which the government

provides public funds to private entities or permits them to use public property to

communicate the government’s own message. These cases make clear that the

government is not restricted by the First Amendment in expressing its own




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viewpoints. See, e.g., Rust v. Sullivan, 500 U.S. 173 (1991); Walker v. Texas Div.,

Sons of Confederate Veterans, Inc. 576 U.S. 200 (2015).

       Thus, the Court’s government speech cases compel reversal of the decision

below even before one gets to the seminal Garcetti decision. And while the Garcetti

Court reserved the question whether its holding governs with full force in the context

of classroom instruction—a question not before it—the reasoning of the decision is

squarely applicable. Indeed, given that an educator’s essential “official dut[y]” is

classroom speech, applying Garcetti to a teacher’s instruction is “an easier case for

the employer than Garcetti” itself, “where speech was not what the employee was

being paid to create.” Mayer v. Monroe Cnty. Cmty. Sch. Corp., 474 F.3d 477, 479

(7th Cir. 2007) (Easterbrook, J.).

       Third, the implications of the district court’s decision are startling, for it

anoints individual professors as universities unto themselves, at liberty under the

First Amendment to indoctrinate college students in whatever views they please, no

matter how contrary to the university’s curriculum or how noxious to the People of

Florida.

       In short, the district court’s First Amendment ruling was wrong, and this Court

is likely to reverse it.

       The district court’s Plan B ruling was to declare the Act void, in its entirety,

for vagueness, on the theory that it is “impossible” to expect “ordinary persons using

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ordinary common sense” (the test for vagueness in the public employment context),

Ex.A.113-14, to understand the meaning of the “loaded and contested” and “utterly

ambiguous” term “objective,” Ex.A.119, 124, in the Act’s provision permitting

classroom discussion of the prohibited concepts “in an objective manner without

endorsement,” FLA. STAT. 1000.05(4)(b) (emphasis added). The common, everyday

distinction between objectively considering and discussing an idea and advocating

or endorsing the idea is not at all confounding to ordinary persons, let alone to

university instructors. Indeed, our adversarial legal system is founded on the

distinction: it is the difference between what lawyers do and what judges do. Indeed,

the term “objective” is ubiquitous in our written law, statutory and judicial, and the

district court itself has used the term in numerous opinions without offering a

definition of its supposedly “utterly ambiguous” meaning. There’s nothing vague

about the language of the Individual Freedom Act, and this Court is likely to reverse

the district court’s contrary decision.

      Finally, although the district court correctly held that plaintiffs seeking a

preliminary injunction have the burden of producing evidence of specific facts

sufficient to establish their standing for each of the Act’s concepts that they

challenge, it erred in concluding that Plaintiffs had done so with respect to at least

four of the eight prohibited concepts. No Plaintiff Professor in either case even

adequately alleged, let alone produced supporting evidence, that they intended to

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subject students to instruction that would violate the Act’s prohibition on advocating

concepts 1, 3, 5, and 6. To remedy this jurisdictional deficiency, the district court

took it upon itself to parse through the Plaintiff Professors’ course materials beyond

what they had alleged in their complaints and stated in their declarations and

briefing, in search of ways in which their teaching could “arguably violate” the

concepts that Plaintiffs had not even mentioned. The district court’s supplementation

of Plaintiffs’ submissions exceeded the proper bounds of the judicial role, and this

Court is thus likely to reverse the court’s finding that the “Plaintiffs have standing

to challenge all eight concepts.” Ex.A.130.

      The remaining stay factors also decisively favor a stay of the preliminary

injunction, especially given the clarity of the district court’s errors on the merits. The

State has a compelling—indeed, constitutionally imperative—interest in combating

invidious discrimination, and enjoining a state from enforcing its laws is by

definition a form of irreparable injury. See Maryland v. King, 567 U.S. 1301, 1303

(2012) (Roberts, C. J., in chambers).

      The Court should stay the district court’s order granting a preliminary

injunction.




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                                    BACKGROUND

I.    Factual Background.

      Earlier this year, pursuant to its authority to “establish education policy, enact

education laws, and appropriate and allocate education resources,” FLA. STAT.

§ 1000.03(2)(a), the Florida Legislature passed the Individual Freedom Act. See

2022 Fla. Laws 72. Governor DeSantis approved the Act on April 22, and it took

effect on July 1. See Id. § 8.

      As relevant here, the Act amended the Education Code to enumerate actions

that constitute “discrimination on the basis of race, color, national origin, [or] sex”

and are thus prohibited under Section 1000.05(2). Id. § 2. Specifically, the Act

prohibits “subject[ing] any student or employee to training or instruction that

espouses, promotes, advances, inculcates, or compels such student or employee to

believe any of the following concepts:”

      1.     Members of one race, color, national origin, or sex are morally
             superior to members of another race, color, national origin, or
             sex.

      2.     A person, by virtue of his or her race, color, national origin, or
             sex, is inherently racist, sexist, or oppressive, whether
             consciously or unconsciously.

      3.     A person’s moral character or status as either privileged or
             oppressed is necessarily determined by his or her race, color,
             national origin, or sex.

      4.     Members of one race, color, national origin, or sex cannot and
             should not attempt to treat others without respect to race, color,
             national origin, or sex.
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      5.     A person, by virtue of his or her race, color, national origin, or
             sex, bears responsibility for, or should be discriminated against
             or receive adverse treatment because of, actions committed in the
             past by other members of the same race, color, national origin,
             or sex.

      6.     A person, by virtue of his or her race, color, national origin, or
             sex, should be discriminated against or receive adverse treatment
             to achieve diversity, equity, or inclusion.

      7.     A person, by virtue of his or her race, color, sex, or national
             origin, bears personal responsibility for and must feel guilt,
             anguish, or other forms of psychological distress because of
             actions, in which the person played no part, committed in the past
             by other members of the same race, color, national origin, or sex.

      8.     Such virtues as merit, excellence, hard work, fairness, neutrality,
             objectivity, and racial colorblindness are racist or sexist, or were
             created by members of a particular race, color, national origin, or
             sex to oppress members of another race, color, national origin, or
             sex.

FLA. STAT. § 1000.05(4)(a)(1)-(8) (as amended by the Act).

      The Act, however, draws a sharp distinction between indoctrination and

discussion: it prohibits all persons from subjecting a student to instruction that

advocates these concepts, but at the same time makes clear that it does not “prohibit

discussion of the concepts … as part of a larger course of training or instruction,

provided such training or instruction is given in an objective manner without

endorsement of the concepts.” FLA. STAT. § 1000.05(4)(b).

      The Florida Board of Governors is vested with the constitutional authority to

“adopt regulations to implement [§ 1000.05] as it relates to state universities.” FLA.

STAT. § 1000.05(6)(b); FLA. CONST. art. 9, § 7. Pursuant to that authority, the Board
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adopted Regulation 10.005 to implement the Act. See 10.005, Prohibition of

Discrimination in University Training or Instruction, BD. OF GOVERNORS, STATE

UNIV. SYS.    OF   FLA. (Aug. 26, 2022), available at https://bit.ly/3xqDCX8

(“Regulation 10.005”). Under the Regulation, universities are required to adopt their

own regulations implementing the Act, and the Board takes enforcement action only

against a university that “willfully and knowingly failed to correct a violation of the

university regulation.” Regulation 10.005(4)(a).

II.   Prior Proceedings.

      This appeal arises from two separate challenges to the Act—Pernell v. Florida

Board of Governors and Novoa v. Diaz—which have not been formally consolidated

but which were briefed in tandem, argued together, and resulted in the district court’s

issuance of a single preliminary injunction. In Pernell, the Plaintiffs are six current

professors at Florida universities, one professor emeritus who hosts a university-

sponsored bus tour, and one university student.

      In Novoa, the Plaintiffs are one professor at the University of South Florida

(“USF”), one USF student, and one USF student group. Both sets of Plaintiffs

challenged the Act on the grounds, inter alia, that it violates their free speech rights

under the First Amendment and their rights under the Fourteenth Amendment Due

Process Clause’s vagueness doctrine. They each sought preliminary injunctive relief.




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Defendants opposed the motions and also moved to dismiss all claims under Rule

12(b)(1) and (6) for lack of standing and failure to state a claim.

      On November 17, the district court granted Plaintiffs’ request for a

preliminary injunction in principal part. The court concluded that all Plaintiffs except

two of the Pernell Plaintiffs had standing. Ex.A.84-85. Moreover, while the court

determined that the standing analysis has to be conducted on a provision-by-

provision basis, it held that at least one Plaintiff had adequately alleged an injury

traceable to each of the Act’s eight enumerated concepts, such that the entire Act

was properly before it. See id. On the merits, the court concluded that the Act

restricts Plaintiffs’ free speech rights and, applying a balancing test the court drew

from this Court’s decision in Bishop, it held that the Act violates the First

Amendment. Finally, it also concluded that two of the Act’s provisions are

unconstitutionally vague, including the Act’s exception allowing “objective”

classroom discussion of the eight enumerated concepts—which, the court

determined, “commands the entire statute” and thus “renders the [Act] as a whole

unconstitutionally vague.” Ex.A.125 & n.62.

      The court thus entered a preliminary injunction barring any further

enforcement of the Act or of the Board’s regulation implementing it. And in a closing

section, the court refused to stay its injunction pending any appeal to this Court.

Appellants now seek such a stay from this Court.

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                                    ARGUMENT

      To secure a stay pending appeal, this Court considers four factors:

      (1) whether the stay applicant has made a strong showing that he is
      likely to succeed on the merits; (2) whether the applicant will be
      irreparably injured absent a stay; (3) whether issuance of the stay will
      substantially injure the other parties interested in the proceeding; and
      (4) where the public interest lies.

Hand v. Scott, 888 F.3d 1206, 1207 (11th Cir. 2018). Of these factors, the first two

are the “most critical.” Id.

      As explained below, each of the four factors favors granting a stay of the

district court’s preliminary injunction.

I.    Appellants Are Likely To Succeed On The Merits Of Their Appeal.

      A. Plaintiffs Lack Standing To Challenge Several of the Act’s Provisions.

      In their complaints and declarations, Plaintiffs did not demonstrate—nor even

adequately allege—that their intended teaching would plausibly violate each one of

the eight concepts the Act forbids. Yet the district court granted Plaintiffs a

preliminary injunction against the Act as a whole, including all eight concepts. That

decision is clearly wrong, and this Court will likely reverse it.

      To obtain a preliminary injunction, Plaintiffs bear the burden of demonstrating

“a likelihood of success on the merits,” which includes “a likelihood of the court’s

reaching the merits, which in turn depends on a likelihood that [a] plaintiff has

standing.” Nat’l Wildlife Fed’n v. Burford, 835 F.2d 305, 328 (D.C. Cir. 1987)


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(Williams, J., concurring and dissenting) (emphasis in original); Ex.A.35. And a

plaintiff seeking a preliminary injunction must do more than merely allege facts

sufficient to demonstrate standing. A plaintiff must demonstrate standing “under the

heightened standard for evaluating a motion for summary judgment,” Waskul v.

Washtenaw Cnty. Cmty. Mental Health, 900 F.3d 250, 255 (6th Cir. 2018) (cleaned

up), by “set[ting] forth by affidavit or other evidence specific facts,” Cacchillo v.

Insmed, Inc., 638 F.3d 401, 404 (2d Cir. 2022) (cleaned up); Ex.A.36.

      Moreover, because “[s]tanding is not dispensed in gross,” a “plaintiff must

demonstrate standing for each claim he seeks to press and for each form of relief that

is sought.” Davis v. FEC, 554 U.S. 724, 734 (2008) (cleaned up). Plaintiffs cannot

leverage an alleged injury under one of the Act’s eight concepts into a challenge

against—and entitlement to a preliminary injunction barring the enforcement of—

other prohibited concepts that they have not demonstrated any intention of

espousing, not to mention the Act as a whole. Instead, as the district court correctly

recognized, “Plaintiffs must also demonstrate standing for each provision of the

statute they challenge,” by “demonstrate[ing] how their speech arguably implicates

each way the [Act’s] prohibition could be violated.” Ex.A.44. Under this provision-

by-provision analysis, the district court should have dismissed Plaintiffs’ challenges

to the Act’s concepts 1, 3, 5, and 6, because no Plaintiff—in either of the cases




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below—adequately alleged that they intended to subject students to instruction

espousing those concepts.

      In Pernell, as we explained in our preliminary injunction briefing there, no

Plaintiff demonstrated (or even adequately alleged) standing to challenge the Act’s

concepts 1, 3, 5, 6, and 7. See Pernell, MTD Mem., Doc. 51-1 at 12-14 (Sept. 22,

2022). Indeed, no Pernell Plaintiff even claimed any intention to subject students to

instruction that would plausibly violate concepts 1 or 5. Id. at 12-13. Only Plaintiff

Sandoval mentioned concept 3, but he did not explain what planned teaching would

plausibly violate it. Id. at 13. And only Plaintiff Almond mentioned concept 6—but

again, without addressing how his intended teaching would advocate that some

individuals should be treated adversely on account of their race. Id. Several Pernell

Plaintiffs claimed that their teaching would violate the Act’s concept 7, but only

because they misunderstood that concept to cover teaching that merely could cause

students to feel guilt or anguish. But this concept, as the district court itself has

correctly recognized in another pending challenge to the Act, covers only teaching

that instructs students that they must feel guilt or anguish over past actions

committed by other members of their race in which the students played no part. Id.

at 13-14; see Order, Falls v. DeSantis, No.22-cv-166, Doc. 68, at 9-10 (N.D. Fla.

July 8, 2022). None of the Pernell Plaintiffs alleged any intent to teach that.




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      Similarly, in Novoa, Plaintiff Novoa never even claimed that her teaching

would violate the Act’s concepts 1, 2, 4, 5, 6, and 8. In fact, Plaintiff Novoa alleged

only that her intended teaching would plausibly violate the Act’s concepts 3 and 7. 1

And her claims clearly failed as to concept 3, because she misunderstood that

concept to mean that it covered mere descriptions of instances of past historical

racism. Novoa, MTD Mem., Doc. 33-1 at 4-14 (Sept. 30, 2022).

      Appellants explained all of this in their preliminary injunction oppositions

below. In response, neither the Pernell Plaintiffs nor the Novoa Plaintiffs made any

effort to show that their intended teachings arguably would violate the specific

concepts at issue. Instead, the Pernell Plaintiffs responded only that their challenge

is a “facial” one, that Defendant’s concept-by-concept arguments “go to the scope

of remedy and are not relevant to the Court’s jurisdiction over the claims,” and that

even if they were relevant, all of the Act’s concepts are implicated in the Pernell

Plaintiffs’ vagueness arguments. Pernell, MTD Opp., Doc. 55 at 10-13 (Oct. 4,

2022). And the Novoa Plaintiffs reasserted Plaintiff Novoa’s challenge to the Act’s

concepts 3 and 7, and further argued that Plaintiff Novoa has blanket standing to

“challenge all eight concepts” of the Act because they are vague, overbroad, and

viewpoint discriminatory, but without making any assertion as to what planned



      1
        As the district court recognized, the Novoa Plaintiff Students’ standing is
derivative of Plaintiff Novoa’s standing. Ex.A.81-82.
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teaching would violate each of the Act’s concepts. Novoa, MTD Opp., Doc. 38 at

10-16 (Oct. 7, 2022).

      That should have been the end of the matter. Yet the district court itself filled

in the gaps in what Plaintiffs had alleged in their complaints and stated in their

declarations and their briefs, parsing their course materials to uncover ways in which

Plaintiffs’ teaching could “arguably violate” concepts in the Act that the Plaintiffs

themselves did not even raise. This judicial intervention was the plainest of errors.

      For example, Plaintiff Pernell mentions only concept 8 in his declaration,

Pernell, Pernell Decl., Doc. 13-1 at ¶ 20 (Aug. 24, 2022), but the district court

concluded (without addressing concept 8) that his coursework would arguably

violate concepts 3 and 4, Ex.A.58. Plaintiff Dorsey did not call out a specific

provision of the Act at all, Pernell, Dorsey Decl., Doc. 13-2 (Aug. 24, 2022), but the

district court concluded that her course assignments might violate concepts 3, 4, and

8, Ex.A.59. And even more extraordinary, while Plaintiff Novoa alleged only that

her planned teaching might violate concepts 3 and 7, Novoa, Compl., Doc. 1 at

¶¶205-06, the district court sua sponte concluded her teaching might violate

concepts 1, 2, 3, 5 and 7—effectively conferring upon her standing to raise

challenges to the Act that she did not plead, Ex.A.68.

      The net result of the district court’s supplementation of the Plaintiffs’

allegations and arguments was to permit the court’s preliminary injunction to apply

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to all eight of the of the Act’s concepts. Ex.A.130-31. That was error, and this Court

is likely to conclude that Plaintiffs’ failure to challenge concepts 1, 3, 5, and 6 means

that they lack standing to challenge those concepts.

      B. The Act Does Not Violate the First Amendment.

      In the name of preserving “a healthy democracy,” Ex.A.135, the district court

took control of Florida’s public-university curriculum away from the State’s elected

officials. It reached this result by erroneously applying heightened First Amendment

scrutiny to what is indisputably government speech, which is wholly unprotected by

the First Amendment. The district court’s analysis was contrary to decades of

precedent from both this Court and the Supreme Court, and so this Court will likely

reverse.

             1.     Classroom Instruction in Public Universities Is Government
                    Speech and Thus Not Entitled to First Amendment
                    Protection.

      Over thirty years ago, this Court made clear that the content of classroom

instruction at public universities is subject to control by the government (i.e., the

university), not individual instructors. In Bishop v. Aronov, the Court held that a

public university’s decision to prohibit an individual physiology professor from

sharing his personal religious viewpoints “during instructional time” did not violate

the professor’s free speech rights. 926 F.2d at 1076-77. Although the Court applied

a balancing test, it determined that the university’s viewpoint-based restriction on


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the professor’s in-class speech was subject to the mildest of scrutiny—whether it

was “reasonable”—and that such restrictions are effectively per se reasonable. See

id.

      Bishop spoke in no uncertain terms: The university’s “conclusions about

course content must be allowed to hold sway over an individual professor’s

judgments.” Id. at 1077. When an educator and the university “disagree about a

matter of content in the courses he teaches,” the Court explained “the University

must have the final say in such a dispute.” Id. at 1076-77. Therefore, the university,

“as an employer and educator can direct” a professor “to refrain from expression” of

particular “viewpoints in the classroom.” Id. at 1077. The Court summed up the

principle succinctly: “The University necessarily has dominion over what is taught

by its professors and may so manage them.” Id. at 1078.

      Bishop’s holding resolves this case. The gravamen of Plaintiff Professors’

First Amendment claim is that the Constitution entitles them to decide the content of

the instruction they offer when teaching the State’s prescribed curriculum, in the

State’s classroom, for a State paycheck. The Act regulates only “training or

instruction,” FLA. STAT. § 1000.05(4)(a), and thus does not limit any professor’s

scholarship, research, or other activities outside the classroom or other instructional

setting. And Bishop already balanced the First Amendment interests in this precise

context—concluding, again, that “[t]he University necessarily has dominion over

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what is taught by its professors.” Id. (emphasis added). That square holding should

have been the beginning and end of the district court’s analysis of Plaintiffs’ First

Amendment claim.

      a.     The result compelled in this case under Bishop mirrors the result

required under the Supreme Court’s government-speech cases, which make clear

that the speech at issue here is not protected by the First Amendment at all. Take

first the Supreme Court’s seminal decision in Rosenberger. There, the Court

explained that it is “the University speaking” when it “determines the content of the

education it provides.” 515 U.S. at 833. And when the government “is the speaker,”

it may “regulate the content of what is or is not expressed,” including imposing

“viewpoint-based restrictions.” Id. at 834. The Court confirmed this sentiment in

Board of Regents of Univ. of Wisc. Sys. v. Southworth, stating that “speech by an

instructor or a professor in the academic context” implicates the “principles

applicable to government speech.” 529 U.S. 217, 235 (2000). Here, the State of

Florida is specifically regulating “what is or is not expressed” in “the education it

provides.” Therefore, it is regulating its own speech when it restricts “speech by an

instructor or a professor in the academic context.” And when “government speaks,

it is not barred by the Free Speech Clause from determining the content of what it

says.” Walker, 576 U.S. at 207.




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      Second, consider the Supreme Court’s government-funding cases. The Court

has consistently “refused to hold that the Government unconstitutionally

discriminates on the basis of viewpoint when it chooses to fund a program” to the

exclusion of other viewpoints. Id. at 208 (cleaned up). This refusal stems from the

Court’s recognition “that when the government appropriates public funds to promote

a particular policy of its own it is entitled to say what it wishes.” Rosenberger, 515

U.S. at 833. Here, the State of Florida “appropriates public funds” to support public

education at the State’s universities. Under these principles, the State of Florida is

thus “entitled to say what it wishes” and to specify the “viewpoint” that is taught in

the public education that it provides. Under the district court’s decision, however, it

is the State-funded educators, not the State, who are entitled, uniquely among public

employees, to say what they wish in their workplace.

      Third, consider the Court’s cases involving the use of public property by

private parties to communicate a government message. The Court has made clear

that the government may “express its views when it receives assistance from private

sources for the purpose of delivering a government-controlled message.” Pleasant

Grove City, Utah v. Summum, 555 U.S. 460, 468 (2009). Pleasant Grove held that

“even when ‘accepting a privately donated monument and placing it on city

property,’” the government “had ‘engaged in expressive conduct’” and was thus

entitled to control the content, including the viewpoint, of its message. Walker, 576

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U.S. at 209 (quoting Pleasant Grove, 555 U.S. at 476 (cleaned up)). The Court

applied these principles again in Walker, holding “that license plate designs

proposed by private groups also amounted to government speech” and thus were not

subject to First Amendment scrutiny. See Shurtleff v. City of Boston, Mass., 142 S.

Ct. 1583, 1590 (2022) (describing Walker). Again, this line of government-speech

cases renders the decision below completely untenable. For if the speech of private

individuals proposing license plate slogans is government speech, then surely the

classroom speech of state-employed educators at state universities is too.

      Finally, consider the Supreme Court’s 2006 decision in Garcetti. There, the

Supreme Court explained that when “public employees make statements pursuant to

their official duties, the employees are not speaking as citizens for First Amendment

purposes.” 547 U.S. at 421-22. And “[r]estricting speech that owes its existence to a

public employee’s professional responsibilities does not infringe any liberties the

employee might have enjoyed as a private citizen.” Id. Therefore, a public employer

may punish or otherwise regulate an employee’s professional speech, and “the

employee has no First Amendment cause of action.” Id. at 418. The classroom

speech of public-university professors clearly falls within the rationale of Garcetti

because statements are made “pursuant to their official duties.” 547 U.S. at 421-22.

To be sure, Garcetti reserved the question whether its holding applies in full to

classroom instruction. Id. at 425. But this case invites the Court to make clear that

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Bishop anticipated and answered that reserved question, and that, in any event, on

the plain reasoning of Garcetti and the other government speech cases, the answer

cannot reasonably be in doubt.

      Several circuits, including this one, have recognized that the government-

speech doctrine applies to in-class instruction by state-employed educators. As then-

Judge Alito explained for the Third Circuit in a closely analogous case, “a public

university professor does not have a First Amendment right to decide what will be

taught in the classroom.” Edwards, 156 F.3d at 491. That decision was grounded in

“the Supreme Court’s jurisprudence concerning the state’s ability to say what it

wishes when it is the speaker.” Id. (citing Rosenberger, 515 U.S. at 833-34). Writing

for the Seventh Circuit, Judge Easterbrook explained that, because “teachers hire out

their own speech,” applying Garcetti to public high school teachers’ in-class speech

is “an easier case for the employer than Garcetti” itself, “where speech was not what

the employee was being paid to create.” Mayer, 474 F.3d at 479 (emphasis added).

The Sixth Circuit has likewise applied Garcetti to in-class instruction in a public

high school. See Evans-Marshall v. Bd. of Educ., 624 F.3d 332 (6th Cir. 2010). 2



      2
        In a subsequent decision, the Sixth Circuit cabined Evans-Marshall to the
K-12 context, see Meriwether v. Hartop, 992 F.3d 492 (6th Cir. 2021), but
Meriwether’s basis for distinguishing that case from the university context was
expressly premised on the notion that academic freedom is an independent First
Amendment right of college educators, a view that this Court expressly rejected in
Bishop, 926 F.2d at 1075.
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Judge Sutton’s opinion for the court explained that “[w]hen a teacher teaches,” the

school has hired that speech and, accordingly, the school “can surely ‘regulate the

content of what is or is not expressed.’” Id. at 340 (quoting Rosenberger, 515 U.S.

at 833). The Fourth Circuit reached the same result: where speech is “curricular in

nature,” it is “not protected by the First Amendment.” See Lee v. York Cnty. Sch.

Div., 484 F.3d 687, 696-97 (4th Cir. 2007) (citing Boring v. Buncombe Cnty. Bd. of

Educ., 136 F.3d 364, 368-69 (4th Cir. 1998) (en banc)).

      Finally, this Court, in an unpublished opinion, made short work of a First

Amendment claim by a high school teacher who was fired as a result of her written

responses to questions asked by her principal. “We apply Garcetti … and conclude

that [the teacher’s] speech was not protected by the First Amendment because she

spoke pursuant to her official duties.” Gilder-Lucas v. Elmore Cnty. Bd. Of

Educ.,186 F. App’x 885, 886 (11th Cir. 2006) (cleaned up).

      In sum, all three strands of the Supreme Court’s government-speech doctrine

apply in this case: public university professors are employed by the State, are funded

by the State, and work in the State’s classrooms. Thus, while Bishop alone requires

reversal, even if that case had never been decided, the Supreme Court’s subsequent

government-speech cases compel the same result: the Individual Freedom Act

regulates only government speech and thus does not implicate the First Amendment

rights of educators in Florida’s public schools.

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      b.     The court below, however, read Bishop to yield the precise reasoning

that the decision repudiated: that the State of Florida, instead of having “dominion

over what is taught by its professors,” 926 F.2d at 1078, is constitutionally prohibited

from prescribing what is, and is not, to be taught by state-employed educators in its

state-funded universities. And according to the district court, the principles from the

Supreme Court’s government-speech cases do not apply to university professors.

Under this theory, university professors—called the “priests of democracy,” by the

district court—stand alone among all other public employees, with the First

Amendment freedom to say whatever they wish pursuant to their official duties, their

employer be damned. 3

      Turning first to Bishop, the district court erred at multiple levels in applying

that decision. For example, the court repeatedly suggested that Bishop was

effectively an Establishment Clause case. See Ex.A.90, 93. But Bishop made clear

(numerous times) that its holding arose under the Speech Clause and not the

Establishment Clause. See 926 F.2d at 1078 (“[W]e hold” that the government’s

decision “was reasonable and within its power to control the content of curriculum

in the classroom, regardless of the Establishment Clause.” (emphasis added)); id. at




      3
         The district court correctly concluded that the Plaintiff Students’ claims were
“coextensive” with the professors’ speech rights and thus the students’ claims rise
or fall with the resolution of the professors’ claims. See Ex.A.30-31.
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1077 (“[W]e do not reach the establishment questions raised by Dr. Bishop’s

conduct.”).

      The district court also attempted to distinguish Bishop on the ground that it

involved only one professor. But that, again, conflicts directly with Bishop’s

teaching that “the University necessarily has dominion over what is taught by its

professors and may so manage them.” Id. at 1078.

      But the district court’s most fundamental error, as discussed supra at pp. 3-6,

20-21, was its insistence that Bishop drew a distinction between the State’s

unquestioned authority to control the subjects taught in “the established curriculum,”

Ex.A.94, and professors’ freedom to express their personal viewpoints on matters

within the scope of that curriculum. According to the district court, the State may

permissibly ban, wholesale, discussion of a “subject,” but once the State decides to

permit the discussion of a particular “subject,” the State’s professors have the

“academic freedom” to advocate their own viewpoints related to that subject. See

Ex.A.92, 95. 4




      4
         The subjective malleability of this standard is evidenced in the district
court’s standing analysis. While the district court assures that the attempt “to teach
an introductory botany class through the lens of critical race theory” would not be
within the established curriculum, Ex.A.92, it nevertheless enjoined enforcement of
the Act against a Plaintiff statistics professor who teaches through the lens of
“systemic discrimination.” Ex.A.39. The district court’s distinction between this
professor and the hypothetical botany professor is neither explained nor obvious.
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      That distinction is nowhere to be found in Bishop and is, in fact,

fundamentally inconsistent with it. Bishop did not concern the scope of the State’s

authority to establish which courses will be taught in the curriculum prescribed for

its universities. That state authority is questioned by no one. Instead, as in this case,

Bishop concerned “what is taught by its professors,” 926 F.2d at 1078—the “course

content,” id. at 1077—and in particular, whether the State could require “that its

courses be taught without personal religious bias unnecessarily infecting the teacher

or the students.” 926 F.2d at 1076. Nor did Bishop concern a dispute about the

“content” of classroom speech rather than “viewpoint.” Dr. Bishop’s “Christian

perspective,” id., and his advocacy of intelligent design, was a component of his

professional viewpoint on the physiology curriculum he was teaching. Indeed, this

Court specifically held that the university could “prevent him from presenting his

religious viewpoint during instructional time, even to the extent that it represents his

professional opinion about his subject matter.” Id. at 1077 (emphasis added); see id.

at 1076 n.7 (crediting that Professor Bishop’s “professional views” as a physiology

professor were “informed by his religious beliefs”).

      Moreover, it is nonsensical to import a content-viewpoint distinction into the

government-speech doctrine. “Were the Free Speech Clause interpreted otherwise,

government would not work.” Walker, 576 U.S. at 207. “Indeed, it is not easy to

imagine how government”—and a public university in particular—“could function

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if it lacked th[e] freedom” to have a viewpoint. Pleasant Grove, 555 U.S. at 568; see

also Nat’l Endowment for Arts v. Finley, 524 U.S. 569, 598 (1998) (Scalia, J.,

concurring) (“It is the very business of government to favor and disfavor points of

view.”). A university must be entitled to prohibit its political-science professors

from inculcating in class the idea that slavery should be legal or its science professors

from inculcating in class the idea that eugenics should be used for population control.

      The district court repeatedly emphasized that “Bishop explicitly adopted a

balancing test.” Ex.A.87. But it failed to appreciate that, as discussed above, Bishop

itself balanced the First Amendment interest in this precise context and declared the

outcome: a university’s “conclusions about course content must be allowed to hold

sway over an individual professor’s judgments.” 926 F.2d at 1077. Lower courts are

not free to reject the balance specifically struck in Bishop by reweighing the factors

that it already balanced.

      Second, the district court largely elided the reasoning of the Supreme Court’s

government-speech precedent. The court’s 139-page opinion did not even mention

Rust, Walker, or Pleasant Grove. As for Garcetti, the district court simply noted that

the Garcetti Court reserved the question whether its rule would apply to the

academic context—a question not before the Court. Missing from its analysis is any

recognition that courts are bound by not only the result, but also the reasoning of a




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Supreme Court decision. See Seminole Tribe of Fla. v. Florida, 517 U.S. 44 (1996);

Ramos v. Louisiana, 140 S. Ct. 1390, 1416 n.6 (2020) (Kavanaugh, J., concurring).

      In an effort to distinguish Rosenberger, the district court recast that decision

as permitting only content-based discrimination and foreclosing viewpoint

discrimination when the government regulates in-class speech. To be sure,

Rosenberger used the word “content” in stating that “it is the University speaking”

when it “determines the content of the education it provides.” Rosenberger, 515 U.S.

at 833. But the Court’s point in this sentence was about who was speaking, not the

substance of the speech. Determining who is the speaker—the government or a

private individual—is, after all, the dispositive constitutional question. And the

Rosenberger Court clearly implied that “viewpoint-based restrictions are proper”

when the university itself speaks. See id. at 834. Indeed, subsequent decisions have

cited this same passage from Rosenberger for the proposition that the government is

“‘entitled to say what it wishes’” and to “express its views” when it speaks. Pleasant

Grove, 555 U.S. at 467-68 (quoting Rosenberger, 515 U.S. at 833) (emphasis

added). That the Supreme Court has used the words “content” and “view” or

“viewpoint” interchangeably in government-speech cases simply confirms there is

no distinction between “content” and “viewpoint” discrimination when the

government is speaking. Compare Walker, 576 U.S. at 207 (“When government

speaks, it is not barred by the Free Speech Clause from determining the content of

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what it says.” (citing Pleasant Grove, 555 U.S. at 467-68)), with Shurtleff, 142 S.

Ct. at 1589 (“The First Amendment’s Free Speech Clause does not prevent the

government from declining to express a view.” (citing the same pages of Pleasant

Grove)).

      In short, the principles established by the Supreme Court’s government-

speech cases make clear that the speech at issue here is government speech and thus

is not protected by the First Amendment.

      c.     The implications of the district court’s ruling are horrifying. Under the

court’s reasoning, if a university permits the discussion of World War II in a history

course within the “established curriculum,” then a professor has a First Amendment

right to advocate the viewpoint that the Holocaust is a hoax and Nazis were the good

guys. Or if a university permits the discussion of the Jim Crow era within the

“established curriculum,” then a professor has a First Amendment right to inculcate

the viewpoint that Jim Crow was justified because white people are “superior” to

black people. To avoid these results, according to the district court, the university

would presumably be forced to ban discussion of World War II and Jim Crow

altogether. That cannot be the law.

      These are not mere wild hypotheticals. The Third Circuit—following then-

Judge Alito’s opinion in Edwards—held that a world history teacher did not have a

First Amendment right to, among other things, “questio[n] historical accounts of the

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Holocaust, and opin[e] that ‘Hitler didn’t hate the Jews.’” Ali v. Woodbridge Twp.

Sch. Dist., 957 F.3d 174, 178, 184 (3d Cir. (2020). And a white high-school teacher

in Texas was recently fired for telling students that his race “is the superior one”—

using language remarkably similar to concept 1 in the Act. Andi Babineau, White

teacher in Texas fired after telling students his race is ‘the superior one’, CNN (Nov.

15, 2022), https://cnn.it/3VCQWl4. While these examples concern the context of K-

12 instruction—a context where the district court’s decision does not apply—under

the court’s reasoning, both of these teachers would have a First Amendment claim

if they were teaching at a university that permitted any discussion of either World

War II or Jim Crow “within the established curriculum.” Despite the differences

between the K-12 and university-level contexts, that reasoning is clearly wrong in

both, and this Court will likely reverse the decision below.

             2.     The Act’s Educational Provisions Satisfy Any Understanding
                    of the Standard Established by Bishop.

      Even if the Court reads Bishop as adopting a level of scrutiny marginally more

stringent than rational basis review, that standard still requires, only and at most, that

the Act’s provisions be “reasonable.” Bishop, 926 F.2d at 1076. The educational

provisions here easily pass that test. As the Ninth Circuit held, educational statutes

that, among other things, prohibit teaching classes that “[p]romote resentment

toward a race or class of people” or “[a]dvocate ethnic solidarity instead of the

treatment of pupils as individuals” are “reasonably related to the state’s legitimate
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pedagogical interest in reducing racism.” Arce v. Douglas, 793 F.3d 968, 973, 985-

86 (9th Cir. 2015) (cleaned up). And Bishop itself recognized that a university has

an inherent “interest[] in the classroom conduct of its professors.” Bishop, 926 F.2d

at 1076.

      In contrast, the district court concluded that the State’s regulation of the

viewpoints taught in class by its state-employed educators is never “reasonable”

within the meaning of Bishop. See Ex.A.97. The district court held that, even if the

interest served by the IFA was to “address the pedagogical concern of reducing

racism or prohibiting racial discrimination,” a viewpoint-based restriction “is

certainly not reasonable.” Ex.A.96-97 (emphasis in original); see also Ex.A.103.

That conclusion is untenable. The compelling nature of the government’s interest in

stamping out invidious racial discrimination is so fundamental that it is embodied in

our highest law. See Bob Jones Univ. v. United States, 461 U.S. 574, 604 (1983).

      But the substance of the district court’s holding is that government regulation

of any viewpoint taught in government-funded courses by government-employed

instructors—no matter how compelling the government interest—is per se

unconstitutional. 5 Under this theory, literally no viewpoint is out of bounds. The


      5
        The district court suggested that Defendants “may” face a higher burden than
the burden imposed by Bishop because the Act is a “prophylactic ban on expression”
applicable to all public instructors. See Ex.A.96 n.53 (citing United States v. Nat’l
Treasury Emp. Union, 513 U.S. 454 (1995) (“NTEU”). But NTEU applied a

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district court offered no authority for this extreme proposition, and it certainly does

not come from Bishop.

      C. The Challenged Provisions Are Not Unconstitutionally Vague.

      Appellants are also likely to succeed in overturning the district court’s ruling

that two of the Act’s provisions are unconstitutionally vague. “Under the Due

Process Clause, a law is void for vagueness if it fails to give ordinary people fair

notice of the conduct it punishes or is so standardless that it invites arbitrary

enforcement.” Jones v. Governor of Fla., 975 F.3d 1016, 1046 (11th Cir. 2020).

Neither condition is present here.

      In the typical speech context, the government must regulate “with narrow

specificity”—though “perfect clarity and precise guidance have never been required

even of regulations that restrict expressive activity.” Wollschlaeger v. Governor of

Fla., 848 F.3d 1293, 1320 (11th Cir. 2017). But “[i]n the public employment

context,” a more lenient standard applies: a provision governing public employees

is “not void for vagueness as long as ordinary persons using ordinary common sense

would be notified that certain conduct will put them at risk of discharge.”

O’Laughlin v. Palm Beach Cnty., 30 F.4th 1045, 1055 (11th Cir. 2022) (cleaned up).




heightened standard only “[b]ecause the vast majority of the speech at issue” did
“not involve the subject matter of Government employment and takes place outside
the workplace.” 513 U.S. at 470; see also id. at 475. NTEU is thus simply irrelevant
here.
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The district court acknowledged that this public-employee standard applies here.

Ex.A.113-14. And the Act readily satisfies it. O’Laughlin, 30 F.4th at 1055.

      Each of the challenged provisions uses plain, everyday language that has an

“ordinary or natural meaning” commonly known and understood by ordinary people,

and certainly by highly educated university instructors. Yes, “the fact that the [Act]

uses real words found in an English dictionary does not magically extinguish

vagueness concerns.” Ex.A.113. But courts routinely use dictionaries to confirm that

allegedly vague language in fact has an “ordinary meaning” that “is readily

understandable.” Tracy v. Fla. Atl. Univ. Bd. of Tr., 980 F.3d 799, 807 (11th Cir.

2020). Nor is the Act’s language “so standardless” that it invites arbitrary

enforcement. Jones, 975 F.3d at 1046. Because Plaintiffs challenge the Act on a pre-

enforcement basis, their burden to show the risk of discriminatory enforcement is

much higher. See Vill. of Hoffman v. Flipside, Hoffman Est., Inc., 455 U.S. 489, 503

(1982); High Ol’ Times, Inc. v. Busbee, 673 F.2d 1225, 1231 (11th Cir. 1982). And

two further features of the Act and the Board’s regulation render Plaintiffs’ burden

insurmountable.

      First, “even laws that are in some respects uncertain may be upheld against a

vagueness challenge if they contain a scienter requirement.” Jones, 975 F.3d at 1047.

And the scienter requirement in the Act and the Board’s Regulation 10.005

eliminates any genuine vagueness concerns. The Act uses terms that clearly imply a

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scienter requirement—restricting only the intentional act of providing classroom

instruction that “espouses, promotes, advances, inculcates, or compels [a student] to

believe” one of the enumerated concepts. FLA. STAT. § 1000.05(4)(a); see Arce, 793

F.3d at 988-89 (noting that verbs like “advocate” and “promote” “impl[y] an

affirmative act and intent”).

      Second, Regulation 10.005 explains that universities should enforce the Act

against individual instructors who violate it by first mandating that the instructor

“modify” the offending training or instruction, and second by using “disciplinary

measures” only “if there is a failure or refusal to comply with the mandate.”

Regulation 10.005(3)(c). This structure—punishing only a failure or refusal to take

corrective action—likewise reduces vagueness concerns. See U.S. Civil Serv.

Comm’n v. Nat’l Ass’n of Letter Carriers, AFL-CIO, 413 U.S. 548, 580 (1973). The

district court pointed out that discipline is authorized under the Regulation for an

instructor’s “failure,” as well as “refusal,” to conform his teaching to the Act.

Ex.A.123-24. But even such a “‘failure’ to comply” can subject the instructor to

discipline only after the University has informed him precisely what the Act requires

and precisely which teachings it has concluded violate it—thus mitigating any

potential vagueness concerns.

      The district court rejected these considerations and held that the Act is

unconstitutionally vague. Its reasoning, however, was limited to just two provisions

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of the Act. Both of them use plain, commonly understood language and provide fair

notice of what the Act prohibits.

      1.     The district court first rejected as vague concept 4—that “[m]embers of

one race … cannot and should not attempt to treat others without respect to race,

….” FLA. STAT. § 1000.05(4)(a)(4). Much of the court’s discussion (with respect to

this provision and the other one it addressed) incorporated its earlier opinion in

another case challenging to the Act, Honeyfund.com, Inc. v. DeSantis, 2022 WL

3486962 (N.D. Fla. Aug. 18, 2022), which is currently before this Court on appeal,

No. 22-13135 (11th Cir.). The court deemed this concept “unintelligible” largely

because of its use of “a rarely seen triple negative.” Ex.A.114. But this concept

simply and clearly bars instructors from endorsing the view that members of one

race are powerless to treat others in a color-blind manner, and they should not even

try to do so. If this provision is so “unintelligible” as to be unconstitutionally vague,

one wonders what is to become of the thousands of far more intricate provisions that

riddle the statute books. See, e.g., 15 U.S.C. § 77k; 26 U.S.C. § 501; 52 U.S.C.

§ 30116.

      Indeed, the hypotheticals posed by the district court in the very next paragraph

show that the court had no genuine difficulty whatsoever in cutting through the

alleged “cacophony of confusion” purportedly created by the provision’s “triple

negative.” Ex.A.114. Ordinary people will not have any difficulty either. Nor will

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they have any difficulty in seeing that the concept plainly does not ban general

discussion of “diversity” or acknowledgement of students “differing cultural

backgrounds,” Ex.A.115—since such discussions do not amount to advocacy of the

idea that individuals “cannot and should not attempt to treat others” without respect

to their race.

       2.        The district court’s second and more extended discussion centered

around the supposed vagueness of the word “objective” in the Act’s provision

permitting “discussion of the [eight] concepts … in an objective manner without

endorsement of the concepts.” FLA. STAT. § 1000.05(4)(b) (emphasis added). It

concluded that the concept of “objectivity” is “utterly ambiguous,” and that because

“this ‘objectivity’ savings clause commands the entire statute,” the Act is

unconstitutionally vague in its entirety, and Plaintiffs are entitled to a blanket

preliminary injunction against all of it. Ex.A.125 & n.62. Not so.

       To discuss a concept “in an objective manner” is, obviously, to discuss it

“without distortion by personal feelings, prejudices, or interpretations.” Objective,

MERRIAM-WEBSTER’S DICTIONARY, https://bit.ly/3zcLbB1. In contrast, to “endorse”

a concept is “to give approval to” or “support” it. Endorse, WEBSTER’S NEW WORLD

COLLEGE DICTIONARY 470 (4th ed. 2002). Therefore, the plain meaning of the Act

permits instructors to discuss the concepts without expressing approval of them.




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        The district court insisted that “few terms are as loaded and contested as

‘objective.’” Ex.A.124. But ordinary people understand the plain, everyday meaning

of objectivity. Moreover, the entire American legal framework is built upon the

belief that it is possible—and indeed, critically necessary to the law’s very

legitimacy—to distinguish between endorsing and advocating an idea and neutrally

and objectively discussing and considering it. That is a line that appears throughout

the law and that our adversarial legal system trusts its judges, attorneys, and officers

to draw every single day. This Court’s Pattern Jury Instructions, for example,

repeatedly instructs juries—ordinary people drawn randomly from the community—

to draw this line, instructing them to determine when an action or belief is

“objectively reasonable,” or to distinguish “objective” conditions from a “plaintiff’s

subjective feelings.” See, e.g., PATTERN JURY INSTRUCTIONS, CIVIL CASES,

ELEVENTH CIRCUIT (2013 revision) 4.19, 4.22 cmt. 2, https://bit.ly/3OGuaWU.

Indeed, while the district court professed to find the Act’s use of the term “objective”

“utterly ambiguous,” Ex.A.119, the court itself has used that term on numerous

occasions, without any apparent concern that his readers would be confounded by

it. 6



       See, e.g., Akridge v. Sch. Bd. of Alachua Cnty., 2019 WL 13084482, at *5
        6

n.3 (N.D. Fla. May 28, 2019); Wilborn v. Ocwen Loan Servicing, LLC, 2019 WL
12288376, at *8 (N.D. Fla. Mar. 17, 2019); HVLPO2, LLC v. Oxygen Frog, LLC,
2019 WL 13164663, at *8 (N.D. Fla. Feb. 20, 2019).
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      The court’s principal response to this argument was to claim that even if the

term “objective” has a commonly understood meaning on its own, “the term loses

that meaning” here, because the Act “allows for the most zealous condemnation of

the eight concepts—motivated by an instructor’s own personal prejudice or biases,”

but it does not allow endorsement of the concepts by those “who wish to promote

the[ir] merits.” Ex.A.120. Thus, according to the court below, the Act “redefine[s]

‘objectivity’ in a manner that does not comport with common sense,” by allowing

“for only one side of the debate in Florida’s public universities.” Id.

      This argument is built upon a fundamental and obvious misunderstanding of

the Act’s text and structure. Yes, of the three possible dispositions towards the eight

concepts enumerated by the Act—condemnation, neutral objectivity, and

endorsement—Florida’s public-university instructors are only prohibited from

endorsement. But that is not because the Act somehow “has redefined ‘objectivity’”

in subsection (4)(b)’s exception to the Act’s prohibition, Ex.A.120; it is because

subsection (4)(a)’s operative prohibition only proscribes endorsing the concepts, not

condemning them. That has nothing to do with subsection (4)(b)’s exception—which

merely confirms that “discussion of the concepts … in an objective manner” that

does not endorse any particular view of the concepts remains permissible—so it

cannot render subsection (4)(b) unconstitutionally vague.




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II.   The Remaining Stay Factors Favor A Stay.

      The district court’s principal reason for concluding that Plaintiffs had shown

irreparable injury was its conclusion that an “ongoing First Amendment violation …

constitutes irreparable injury” per se. Ex.A.127. But because Plaintiffs have little

likelihood of showing that the Act actually violates their First Amendment freedoms,

this presumption does not apply.

      The balance of the equities and the public interest weigh decisively in favor

of staying the district court’s order preliminarily enjoining the Act. As shown above,

the State has a compelling interest in ending discrimination based on race and other

immutable characteristics, and enjoining the Act will sanction curricular speech that

Florida has determined, in the exercise of its sovereign judgment, is invidiously

discriminatory and contrary to the State’s most cherished ideals. “Any time a State

is enjoined by a court from effectuating statutes enacted by representatives of its

people, it suffers a form of irreparable injury,” Maryland, 567 U.S. at 1303 (Roberts,

C.J., in chambers) (cleaned up), and that is true all the more when the statute at issue

furthers interests as fundamental as those at the heart of Florida’s Individual

Freedom Act.

                                   CONCLUSION

      For the foregoing reasons, this Court should stay the district court’s order of

a permanent injunction pending appeal.


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Dated: December 5, 2022                 Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion contains 9,748 words, excluding

accompanying documents authorized by FED. R. APP. P. 27(a)(2)(B), in accordance

with Defendants-Appellants’ motion for excess words, which requested a word

limit of 10,000 words and was filed simultaneously with this motion.

      This motion complies with the typeface requirements of FED. R. APP.

P. 32(a)(5) and the type style requirements of FED. R. APP. P. 32(a)(6) because this

motion has been prepared in a proportionately spaced typeface using Microsoft

Word for Office 365 in 14-point Times New Roman font.


Dated: December 5, 2022                           s/ Charles J. Cooper
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                        CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of

Court for the United States Court of Appeals for the Eleventh Circuit by using the

appellate CM/ECF system on December 5, 2022. I certify that all participants in

the case are registered CM/ECF users and that service will be accomplished by the

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